

People v Gaston (2022 NY Slip Op 05771)





People v Gaston


2022 NY Slip Op 05771


Decided on October 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 13, 2022

Before: Renwick, J.P., Friedman, Singh, Shulman, Higgitt, JJ. 


Ind. No. 4648/16 Appeal No. 16425 Case No. 2019-05179 

[*1]The People of the State of New York, Respondent,
vTavares Gaston, Defendant-Appellant.


Marianne Karas, Thornwood, for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Franklin R. Guenthner of counsel), for respondent.



Judgment, Supreme Court, New York County (Ann E. Scherzer, J. at plea; Ellen N. Biben, J., at sentencing), rendered September 13, 2019, convicting defendant of attempted robbery in the second degree, and sentencing him, as a second violent felony offender, to a term of five years, unanimously affirmed.
Defendant's challenges to his plea are unpreserved, and they do not come within the narrow exception to the preservation requirement (People v Bush, 38 NY3d 66, 70-71 [2022]); People v Conceicao, 26 NY3d 375, 382 [2015]). We decline to review these claims in the interest of justice. As an alternative holding, we find that the plea was
knowingly, intelligently and voluntarily made. In his plea allocution defendant admitted to all of the elements of the crime, while saying nothing that negated any element, and there was no need for the plea court to engage in any further factual inquiry.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 13, 2022








